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_ ©v“~:-R{:`,,LUQ a \ z i
UN|TED STATES OF A|V|ER|CA » t'i§;g t,-E ‘
Plaintift
VS.
Cl-`i. NO. 05-20186-B
EARNEST |Vl|TCHELL,
Defendant.

 

OFlDEFl ON CONT|NUANCE AND SPEC|FY\NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on July 25, 2005. At that time, counsel for the
defendant requested a continuance of the August 1 , 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to Ootober 3, 2005 with a

re ort date of |ll|onda Se tember 26 2005 at 9:30 a.m., in Courtroom 1. 11th F|oor

 

of the Federa| Bui|ding, Memphis, TN.

The period from August 12, 2005 through Ootober 14, 2005 is excludable under
18 U.S.C. § 3161 (h)(B)(B)(i\/) because the ends of justice served in allowing for additional
time to prepare outweigh the need for a spe§d;t:r’i:tl.

lt is so onDEnED this / § day of ,2005.

 

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UNITED sTATE DISTRIC COUR -WESTER D'S'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 20 in
case 2:05-CR-20186 Was distributed by faX, mail, or direct printing on
August 2, 2005 to the parties listed.

 

 

Mary Catherine Jermann
FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

David Pritchard

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

